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BRIAN SHULL, IL Bar No. 6293797
JULIA A. HORWITZ, DC Bar No. 1018561
JENNIFER RIMM, DC Bar No. 1019209
YAYI GUO, DC Bar No. 90028378
Federal Trade Commission
600 Pennsylvania Avenue, N.W.
Washington, D.C. 20580
Phone: (202) 326-3734
Fax: (202) 326-3062
bshull@ftc.gov
jhorwitz@ftc.gov
jrimm@ftc.gov
yguo@ftc.gov

ELIZABETH C. SCOTT, IL Bar No. 6278075
Federal Trade Commission
230 S. Dearborn St., Ste. 3030
Chicago, IL 60604
Phone: (312) 960-5609
Fax: (312) 960-5600
escott@ftc.gov

ATTORNEYS FOR PLAINTIFF
FEDERAL TRADE COMMISSION

                           UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF IDAHO


 FEDERAL TRADE COMMISSION,                               Case No. 2:22-cv-00377-BLW

         Plaintiff,                                      MOTION TO STRIKE
                                                         AFFIRMATIVE DEFENSES AND
         v.                                              REQUEST FOR JURY TRIAL
                                                         [DKT. 107]
 KOCHAVA INC., corporation,

 and

 COLLECTIVE DATA SOLUTIONS, LLC, a
 limited liability company,

         Defendants.

       Plaintiff Federal Trade Commission (“FTC”) submits this motion to strike the affirmative


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defenses and request for a jury trial included in Defendants’ Answer to the Second Amended

Complaint (“Answer”) [Dkt. 107]. In support of this motion, the FTC submits the attached

Memorandum in Support.

       Wherefore, the FTC respectfully requests the Court grant its motion to strike.


                                            Respectfully submitted,

Dated: March 7, 2025                        /s Brian Shull

                                            BRIAN SHULL
                                            JULIA A. HORWITZ
                                            ELIZABETH C. SCOTT
                                            JENNIFER RIMM
                                            YAYI GUO

                                            Attorneys for Plaintiff
                                            FEDERAL TRADE COMMISSION




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